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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §             CRIMINAL NO . H-05-359-05
                                                 §
WALTER DEVON-ISTASHMA YOUNG                      §


                         ORDER OF DETENTION PENDING TRIAL

        In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. I conclude that the following facts are established by a preponderance of the evidence or clear
and convincing evidence and require the detention of the above-named defendant pending trial in
this case.

                                          Findings of Fact

[ ] A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

       [ ] (1) The defendant has been convicted of a (federal offense) (state or local offense that
               would have been a federal offense if a circumstance giving rise to federal jurisdiction
               had existed) that is

                    []     a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

                    []     an offense for which the maximum sentence is life imprisonment or
                           death.

                    []     an offense for which a maximum term of imprisonment of ten years or
                           more is prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq.
                           ( ) § 955(a).

                    []     a felony that was committed after the defendant had been convicted of
                           two or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)
                           (A)-(C), or comparable state or local offenses.

       [ ] (2) The offense described in finding 1 was committed while the defendant was on release
               pending trial for a federal, state or local offense.

       [ ] (3) A period of not more than five years has elapsed since the (date of conviction)
               (release of the defendant from imprisonment) for the offense described in finding 1.
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       [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
               combination of conditions will reasonably assure the safety of any other person and
               the community. I further find that the defendant has not rebutted this presumption.

[X]    B.        Findings of Fact [18 U.S.C. § 3142(e)]

       [X] (1)       There is probable cause to believe that the defendant has committed an offense

                     [ ]     for which a maximum term of imprisonment of ten years or more is
                             prescribed in 21 U.S.C.
                             () § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                     [X]     under 18 U.S.C. § 924(c).

       [X] (2)       The defendant has not rebutted the presumption established by finding 1 that no
                     condition or combination of conditions will reasonably assure the appearance of
                     the defendant as required and the safety of the community.

[X]    C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

       [X] (1)       Defendant is accused of bank robbery.

       [X] (2)       There is a serious risk that the defendant will flee.

       [X] (3)       Defendant represents a danger to the community.

       [ ] (4)       There is a serious risk that the defendant will (obstruct or attempt to obstruct
                     justice) (threaten, injure, or intimidate a prospective witness or juror, or attempt
                     to do so).

[X]    D.        Findings of Fact [18 U.S.C. § 3142(c)]

       [ ] (1)       As a condition of release of the defendant, bond was set as follows:

       [ ] (2)

       [X] (3)       I find that there is no condition or combination of conditions set forth in 18
                     U.S.C. § 3142(c) which will reasonably assure the appearance of the defendant
                     as required.

       [ ] (4)

       [X] (5)       I find that there is no condition or combination of conditions set forth in
                     18 U.S.C. § 3142(c) which will reasonably assure the safety of any other person

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                    or the community.

                           Written Statement of Reasons for Detention

        I find that the accusations in the indictment, the evidence submitted at the hearing, and the
information submitted in the Pretrial Services Agency report establish by a preponderance of the
evidence that no condition or combination of conditions will reasonably assure the appearance of
the defendant as required and by clear and convincing evidence that no conditions will assure the
safety of the community.

       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

       1.      Defendant Walter Devon-Istashma Young is a 29 year old male citizen of the United
               States.

       2.      Young presently resides with a friend. He is engaged, but Pretrial Services was
               unable to contact his fiancee. He has one child from his present relationship, four
               children from prior relationships, with at least one child residing in Canada. He is
               presently delinquent in making his child support payments. He owns no property and
               has no significant financial ties to the community.

       3.      The Pretrial Services report does not indicate where each of Young’s children reside.
               His mother and one sibling are both incarcerated. His other sibling resides in
               Beaumont and his father is deceased. The extent of his contact with family members
               in the Houston area is not clear. Young has no significant family ties to the
               community.

       4.      Young poses a flight risk in view of his lack of significant family or financial ties to
               this community.

       5.      Young is charged with bank robbery in violation of 18 U.S.C. § 2113. The
               indictment alleges he used force, violence and intimidation in commission of this
               offense. Young is also charged with aiding and abetting under 18 U.S.C. § 2, and
               possessing a firearm during the commission of a violent crime under 18 U.S.C. §
               924(c). Young faces a penalty range of not more than 25 years.

       6.      There is strong evidence implicating Young in the robbery of a bank. In addition to
               video surveillance, DNA evidence recovered from a hat found in a vehicle used to
               flee the robbery matches that of the defendant to a virtual statistical certainty.
               Young’s criminal history includes one misdemeanor conviction for possession of
               marijuana, and three misdemeanor convictions for driving while license suspended.

       7.      Young poses a danger to the community in view of the violent nature of the offense,

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               including the use of a weapon during the commission of the offense.

       8.      There is no condition or combination of conditions of release which would assure the
               appearance of the defendant in court or the safety of the community. Detention is
               ordered.

                                  Directions Regarding Detention

       It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United
States Marshal for the purpose of an appearance in connection with all court proceedings.

       Signed at Houston, Texas, on August 11, 2006.




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